                 P.O. Box 1628, Juneau, Alaska 99802

                                                                  5450

                                                       August 17, 1979


 Mr. Curtis V. McVee, Director
 Bureau of Land Management
 State Office Building
 701 "C" Street, Box 13
 Anchorage, Alaska 99513

 Dear Curt:

 This is in response to Ms. Olivia Short's telephone call regarding
 the need for a 3(e) designation letter on the Craig Administrative
 Site #1.

 The Craig Administrative Site #1 (Craig Ranger Station) has been
 in continuous use by the Forest Service for half a century or more.
 It was first surveyed in 1913 and approved as a ranger station in
 1919. Since that time, by purchase of four tracts of land and a
 donation of one tract by the City of Craig, the area has been in-
 creased from approximately 1.42 acres to 2.26 acres, not including
 tideland reserves #1 and #2.

 Tideland Reserve Area #1 was acquired from the Department of the
 Army because of Forest Service occupancy and use at the time of
 the passage of the Alaska Statehood Act. Reserve Area #2 was ac-
 quired by purchase and deeded to the Forest Service by the City
 of Craig.

  Total value of improvements on the site is $309,891.28 at the
  present time.

  The Craig Administrative Site is essential to continued management
  of National Forest lands on Prince of Wales Island. It provides
  residences, office space, warehousing, boat storage, etc.

  We are enclosing maps showing description of the site. All lands
  were in actual use on December 18, 1971.

  No rights, interests or permitted uses have been granted to other
  agencies.                                                              ni

  Sincerely,
    James A. Calvin


  JAMES A. CALVIN
  Director of Lands and Minerals Management
  Enclosures
                                     MDay:vka:08-17-79



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